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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


1ST SIGNATURE LENDING, LLC,                   )
                                              )
        Plaintiff/Counter-Defendant,          )
                                              )
v.                                            ) Case No. 2:20-cv-02894 JTF-cgc
                                              )
BRIGHTON BANK,                                )
                                              )
        Defendant/Counter-Plaintiff.          )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        Relying on Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff/Counter-Defendant

1st Signature Lending, LLC, and Defendant/Counter-Plaintiff Brighton Bank submit this Joint

Stipulation of Dismissal with Prejudice. The parties stipulate that this matter should be dismissed

with prejudice, with each party to bear its own costs and attorney fees.

        RESPECTFULLY SUBMITTED, this 1st day of October 2021.

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